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        EXHIBIT A
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                                                                         Page 1
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   UNITED STATES BANKRUPTCY COURT
 3   FOR THE DISTRICT OF DELAWARE
     -----------------------------------------x
 4   In Re:
     Energy Future Holdings Corporation, et.,
 5

                            Debtors.
 6

     Chapter 11
 7   Case No. 14-10979
     Jointly Administered
 8

 9   -----------------------------------------x
10                 * * *CONFIDENTIAL* * *
11            DEPOSITION OF WILLIAM O. HILTZ
12                    New York, New York
13                      October 6, 2014
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23   Reported by:
24   KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25   JOB NO. 85363

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                                          Page 46                                                    Page 47
 1        CONFIDENTIAL - WILLIAM O. HILTZ                1             CONFIDENTIAL - WILLIAM O. HILTZ
 2      Q. Do you know which classes are impaired        2              MS. O'CONNOR: Object to form.
 3   here?                                               3          A. Only to the extent that they're
 4      A. Well, I don't think we can answer that        4       alleging claims against the E side, but I'm not
 5   question yet.                                       5       aware that any of those claims have been
 6      Q. And why not?                                  6       formalized or substantiated at this point.
 7      A. I think it'll be partially a function         7          Q. Mr. Hiltz, the Debtors have announced
 8   of the proceeds from the sale of Oncor.             8       an optimal deal structure with respect to a
 9      Q. And in testifying that you can't              9       transaction by which the sale transaction would
10   answer yet which classes are impaired here, are    10       occur through the post-reorg. EFH equity,
11   you referring to both the E side and the T         11       correct?
12   sides?                                             12              MS. O'CONNOR: Object to form.
13      A. Well, I think it's likely that the T         13          A. Correct. And I object to your use of
14   side creditors are all impaired. With respect      14       the term "optimal."
15   to the E side, that's a more difficult             15          Q. That's what the Debtors use in the
16   determination.                                     16       motion so that's where it comes from.
17      Q. And why do you say that?                     17          A. All right.
18      A. Well, because, again, we don't know          18              MS. O'CONNOR: Object to form.
19   what the proceeds will be from Oncor.              19          Q. You reviewed the motion before it was
20      Q. What is your understanding of the T          20       filed?
21   side creditors' interests in this transaction?     21          A. Yes. I didn't recall that they used
22          MS. O'CONNOR: Object to form.               22       the word "optimal."
23      Q. Sorry. Do you have any understanding         23          Q. So you never objected to the use of
24   of the T side creditors' interests in this         24       the word "optimal"?
25   transaction?                                       25          A. I think we have designed what we

                                          Page 48                                                    Page 49
 1          CONFIDENTIAL - WILLIAM O. HILTZ              1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   believe is an efficient structure. I'm not sure     2      Bank of America Merrill Lynch become involved in
 3   it's the optimal structure. Someone may come up     3      the sale process?
 4   with a structure that's better than ours.           4         A. Bank of America Merrill Lynch was
 5       Q. Now, the efficient structure that you        5      involved at the time that I became involved.
 6   refer to contemplates a transaction through         6      I'm not sure exactly when they became involved.
 7   post-reorganized EFH equity?                        7         Q. Do you know if they became involved
 8       A. Yes.                                         8      before or after you?
 9       Q. Now, you understand that there are           9         A. I just said they were involved when I
10   creditors at the EFH level, correct?               10      became involved, so that, by definition, means
11       A. Correct.                                    11      they were involved before.
12       Q. And creditors at the EFIH level,            12         Q. To your knowledge, who approached Bank
13   correct?                                           13      of America Merrill Lynch?
14       A. Correct.                                    14         A. I don't know the answer to that.
15       Q. And you understand that the creditors       15         Q. Do you have any understanding of why
16   at the EFH level are structurally junior to the    16      Bank of America Merrill Lynch was brought in?
17   creditors at the EFIH level, correct?              17         A. My understanding was that the company
18       A. Yes.                                        18      felt that two sets of eyes might be better than
19       Q. So you're -- am I correct in                19      one.
20   understanding that your efficient transaction      20         Q. Do you have any understanding why Bank
21   structure, as you referred to it, contemplates     21      of America Merrill Lynch did not become engaged?
22   paying creditors at the EFIH level in full?        22         A. I believe it was felt that they had a
23       A. Yes.                                        23      conflict because of their participation in one
24       Q. Mr. Hiltz, back to the sale process         24      of the DIP facilities.
25   that we were discussing before earlier, when did   25         Q. And that conflict was not identified


                                                                              13 (Pages 46 to 49)
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 1        CONFIDENTIAL - WILLIAM O. HILTZ                1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   advisors that they felt the process we were         2      process?
 3   conducting with NextEra was too short, that it      3         A. Correct.
 4   would not allow adequate time for other bidders.    4         Q. Correct?
 5          We had received similar feedback from        5             As distinct from an open auction
 6   bidders themselves who said that they didn't        6      process?
 7   have enough time, needed more time, or in fact,     7         A. Correct.
 8   refused to participate in the process because       8         Q. This change to a two-step process was,
 9   they didn't feel we were allowing enough time.      9      in your view, an important change?
10          So, for all of those reasons, as well       10         A. Yes.
11   as the fact that, as we negotiated with NextEra,   11         Q. And did you think that it was
12   we believed we didn't have much leverage with      12      important enough to inform all of the
13   NextEra from a negotiating standpoint; we were     13      prospective bidders that the process had changed
14   not making progress on a number of the             14      to a two-step process?
15   contractual issues that were important to us.      15         A. Yes.
16          So, for all of those reasons, i.e.,         16         Q. In fact, Evercore communicated this
17   input from creditors that they were going to       17      change to every prospective it was then in
18   object if we did sign up NextEra, input from       18      contact with?
19   buyers that they needed more time or felt that     19         A. I believe so.
20   time was too short, and difficulties in            20         Q. How was this communicated? All by
21   negotiating with NextEra all combine to lead to    21      e-mail?
22   the decision to go to a two-step process.          22         A. No, phone calls as well.
23      Q. And the concerns that were expressed         23         Q. And do you have a log of those phone
24   concerning insufficient time was with respect to   24      calls?
25   participation in the stalking horse selection      25         A. I do not.

                                          Page 68                                                    Page 69
 1         CONFIDENTIAL - WILLIAM O. HILTZ               1           CONFIDENTIAL - WILLIAM O. HILTZ
 2      Q. Do you know if anyone at Evercore has         2         Q. Is this the version of teasers that
 3   a log of those phone calls?                         3      went out to prospective bidders in July?
 4      A. Not that I'm aware of.                        4         A. I believe it is.
 5      Q. But it is your understanding that             5         Q. And this is -- are you aware of the
 6   every prospective bidder was informed of that?      6      next version of a teaser?
 7      A. That's my understanding.                      7         A. Yes, I am.
 8      Q. Mr. Hiltz, going back to the now -- to        8         Q. And what is the date of that?
 9   the 12 original NDAs that were signed as of the     9         A. I don't recall the date.
10   date of your declaration, the prospective          10         Q. August?
11   bidders that entered into those 12 NDAs all        11         A. Might be early September.
12   received teaser materials prior to signing the     12         Q. Now, if we turn to page 1 of the
13   NDA; is that correct?                              13      presentation, which is a few slides back with
14      A. I believe so.                                14      the Bates number ending in 018, are you on that
15          (Hiltz Exhibit 9, an e-mail chain with      15      page?
16      attachment bearing Bates Nos.                   16         A. Uh-huh.
17      EFH-EVR909999913 through 25, marked for         17         Q. Now, turning your attention to the
18      identification, as of this date.)               18      third bullet point, it states that, "The company
19   BY MR. DEVORE:                                     19      is pursuing a restructuring transaction, the TCH
20      Q. Mr. Hiltz, I have handed you what has        20      spinoff, whereby, on the emergence date, TCH
21   been marked as Exhibit 9, which again is an        21      will separate from EFH on a tax-free basis and
22   e-mail from Sesh, this time dated July 25 to a     22      reorganized EFH would continue to own 100
23   prospective bidder attaching teaser materials;     23      percent of EFH and its 80 percent interest in
24   is that correct?                                   24      Oncor." Do you see that?
25      A. Correct.                                     25         A. Yes.


                                                                              18 (Pages 66 to 69)
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 1         CONFIDENTIAL - WILLIAM O. HILTZ               1             CONFIDENTIAL - WILLIAM O. HILTZ
 2      Q. And then on page 2, the next page, it         2          A. I don't recall the exact number, but I
 3   states, "Any acquisition of reorganized EFH         3       would add that every party has received a
 4   stock will need to be structured in order to        4       subsequent teaser that obviously is not specific
 5   preserve the tax-free status of the TCH             5       with respect to tax structure.
 6   spinoff," do you see that?                          6          Q. We'll get to that in due course. I
 7      A. Yes.                                          7       just want to walk through the process.
 8      Q. Now, this is what has been referred to        8          A. Yes.
 9   in the Debtor's bidding procedures motion as the    9          Q. Now, returning your attention back to
10   optimal deal structure, which you are referring    10       Exhibit 5, which was that July 25 contact log?
11   to as the efficient structure?                     11          A. Yes.
12      A. Correct.                                     12          Q. And if you turn to the first page of
13      Q. And the essence of that structure is         13       the actual log with Bates number ending 236,
14   to provide for a transaction at the post-reorg.    14       there's a column in the middle that says Teaser
15   EFH equity level in order to permit a tax-free     15       Sent. Do you see that?
16   spin of the T side and also permit a tax-free      16          A. Yes.
17   acquisition of the E side?                         17          Q. And there is four prospective bidders
18      A. Correct.                                     18       that are identified as having received a teaser
19      Q. Is that an accurate statement?               19       on July 25, correct?
20      A. Yes.                                         20          A. Uh-huh.
21      Q. Do you know how many prospective             21          Q. And the teaser that you have in front
22   bidders this teaser for solely a tax-free          22       of you dated July 25, which is Exhibit 9, is
23   transaction was sent to?                           23       that the teaser that would have been sent to
24      A. This initial teaser?                         24       these four prospective bidders?
25      Q. Correct.                                     25          A. I believe so.

                                          Page 72                                                     Page 73
 1         CONFIDENTIAL - WILLIAM O. HILTZ               1            CONFIDENTIAL - WILLIAM O. HILTZ
 2      Q. Was this contact log, to your                 2      the contact log -- again, we're on Exhibit No.
 3   knowledge, updated after July 25?                   3      5, and if you go down to the second page?
 4      A. I would imagine so.                           4         A. Uh-huh.
 5      Q. Was it your practice to keep a contact        5         Q. It lists four prospective bidders, and
 6   log with respect to teasers sent?                   6      it says, "Evercore is waiting for John Young to
 7      A. Yes.                                          7      make the first call," correct?
 8      Q. So you believe that there is such a           8         A. Yes.
 9   contact log?                                        9         Q. And earlier you testified that you
10      A. I would think so, yes.                       10      don't know who Mr. Young is?
11      Q. Have you done any search for the             11         A. I do recall.
12   contact log in preparation for document            12         Q. You now do recall?
13   production?                                        13         A. Yes.
14      A. I have not personally.                       14         Q. And who is Mr. Young?
15      Q. Has anyone from Evercore asked you if        15         A. I don't know his title, but I know he
16   a contact log existed -- I'm sorry, anyone at      16      works for EFH, and I've met with him on at least
17   Kirkland asked you if a contact log existed?       17      one occasion.
18      A. Not that I recall.                           18         Q. Now, Mr. Hiltz, the bottom e-mail --
19          MR. DEVORE: We had requested                19             (Hiltz Exhibit 10, an e-mail chain
20      specifically in a request for production        20         bearing Bates Nos. EFH90009231 through 9232,
21      that all contact logs be produced, and to       21         marked for identification, as of this date.)
22      date, we have only received a contact log as    22      BY MR. DEVORE:
23      of July 25 and request that that be             23         Q. Now, Mr. Hiltz, if you look at Exhibit
24      immediately produced.                           24      10, the second e-mail down -- I'm sorry, the
25      Q. The last line of the cover e-mail with       25      third e-mail down, it's an e-mail from David


                                                                              19 (Pages 70 to 73)
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                                          Page 86                                                    Page 87
 1         CONFIDENTIAL - WILLIAM O. HILTZ               1           CONFIDENTIAL - WILLIAM O. HILTZ
 2      A. The buy side, and -- well, the sell           2             (Hiltz Exhibit 13, an e-mail chain
 3   side. Excuse me.                                    3         bearing Bates Nos. EFH-EVR090000047 through
 4      Q. You're referring to the sell side?            4         48, marked for identification, as of this
 5      A. Yes.                                          5         date.)
 6      Q. Did anyone from the buy side indicate         6      BY MR. DEVORE:
 7   any preference for a taxable versus non-taxable     7         Q. Mr. Hiltz, you have been handed what
 8   structure?                                          8      has been marked as Exhibit 13. Do you see that?
 9      A. Well, again, they recognized that, in         9         A. Yes.
10   order to win the auction, it's unlikely that a     10         Q. And the second e-mail down is an
11   taxable transaction will allow them to be the      11      e-mail dated September 10 from Bo Yi?
12   winner, because they look at it the same way we    12         A. Yes.
13   do, which is the price that you would have to      13         Q. And it states, "We haven't sent out an
14   pay to produce the same economic value is a        14      updated teaser or other marketing materials to
15   price that they wouldn't be willing to pay and     15      any parties yet"?
16   that no person is likely to be willing to pay.     16         A. Yes.
17      Q. Now, I would like to go back to when         17         Q. Do you see that?
18   the teaser was changed from providing for a        18             Does this indicate that no updated
19   non-taxable-only transaction to a taxable -- to    19      teasers had gone out as of September 10?
20   permit taxable transactions.                       20         A. Yes.
21          You stated before that you do not           21         Q. So, to the best of your knowledge, the
22   recall when the teaser was changed; is that        22      teaser was not changed to provide for bids in
23   correct?                                           23      any form as of September 10, correct?
24      A. Correct, I don't recall the exact            24         A. Correct.
25   date.                                              25         Q. Now, when were the 12 prospective

                                          Page 88                                                    Page 89
 1         CONFIDENTIAL - WILLIAM O. HILTZ               1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   bidders that signed NDAs as of the date of your     2      specific with respect to the content of the
 3   declaration informed of the change from inviting    3      conversation.
 4   bids for only non-taxable structures to inviting    4             Again, we attempted to call everyone
 5   bids for transactions in any form?                  5      once we had made a decision to change the
 6      A. I'm not sure.                                 6      process, so I believe those calls started
 7      Q. Was it prior to September 19, the             7      perhaps late the week before Labor Day or early
 8   filing of the motion?                               8      the week following Labor Day. I can't recall if
 9      A. I believe so, but I can't state for           9      those calls merely stated that we were giving
10   certain.                                           10      people more time and were going to a two-stage
11      Q. What's the basis for the belief?             11      process or whether it also referenced a
12      A. Well, we called people to tell them          12      willingness to accept taxable bids.
13   that we were going to change the process, and I    13         Q. So, sitting here today, you have no
14   can't recall if as part of those telephone         14      knowledge of a communication, prior to September
15   conversations they were alerted to the fact that   15      19, a specific knowledge of a specific
16   we would also accept taxable bids as well as       16      communication informing prospective bidders that
17   non-taxable bids.                                  17      the Debtors would accept bids in any form?
18      Q. And would that information be kept in        18         A. That's correct.
19   a call log?                                        19             (Hiltz Exhibit 14, an e-mail with
20      A. Not necessarily, no.                         20         attachment bearing Bates Nos.
21      Q. Would you expect that it may be in a         21         EFH-EVR090001062 through 1167, marked for
22   call log?                                          22         identification, as of this date.)
23      A. I wouldn't think it would be.                23      BY MR. DEVORE:
24      Q. And why not?                                 24         Q. Mr. Hiltz, I have handed you what has
25      A. Well, because the call log isn't             25      been marked as Exhibit 14, which is an e-mail


                                                                              23 (Pages 86 to 89)
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                                         Page 102                                                   Page 103
 1         CONFIDENTIAL - WILLIAM O. HILTZ               1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   said, which is when we discussed a taxable          2         Q. And what is the value of that step up
 3   transaction, one of the factors that's been         3      in basis as calculated by Evercore?
 4   discussed is if a buyer did achieve a step up,      4         A. It's about $2 billion.
 5   there was a question as to whether the PUC would    5         Q. So, based on this analysis from the
 6   allow them to receive the full benefit of that      6      perspective -- the perspective of the purchaser,
 7   step up or whether rates would be adjusted to       7      they would pay $2 billion more for this asset
 8   give part or all of that benefit to the rate        8      with the step up in basis?
 9   payors.                                             9         A. Assuming the step up was in the
10      Q. What I'm trying to understand is what        10      depreciable assets as opposed to the stock of
11   is the basis for that statement? Was it            11      Oncor and assuming that they were able to keep
12   conversations that Mr. Ying had or -- I'm sorry,   12      the full benefit of that step up.
13   Mr. Keglevic had with the PUCT?                    13         Q. And do you think that is the likely
14      A. I don't know.                                14      scenario in this transaction?
15      Q. You have no understanding of where           15         A. I don't know. I'm not a tax lawyer,
16   that comes from?                                   16      so it's unclear to me whether they can actually
17      A. No.                                          17      achieve a step up in basis in the assets as
18      Q. Has any analysis been performed with         18      opposed to getting their increased basis in the
19   respect to the value that a prospective bidder     19      stock of Oncor.
20   would pay for a step up in basis?                  20         Q. But if they were to achieve that step
21      A. Yes.                                         21      up, that would be a $2 billion increase in the
22      Q. And what is that analysis?                   22      purchase price?
23      A. I had some junior people for me run          23         A. Correct.
24   the present value of the step up in basis that     24              (Discussion off the record.)
25   would occur.                                       25         A. But they have to pay roughly $5

                                         Page 104                                                   Page 105
 1         CONFIDENTIAL - WILLIAM O. HILTZ               1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   billion more to produce equivalent value to the     2      Debtors to change course to the -- call it the
 3   Debtors.                                            3      two-step process.
 4      Q. I'm sorry, I didn't mean to talk over         4             What difficulties are you referring
 5   you. They have to pay $5 billion more?              5      to?
 6      A. To get the same result for the Debtor         6         A. Oh, two, primarily. There was one
 7   as the tax-free transaction, that's correct.        7      that was economic where some -- they were
 8      Q. So there's a disconnect, correct,             8      backing off their purchase price a little, and
 9   between --                                          9      secondly, was the "regulatory out" language,
10      A. No, there's not. There's not a               10      which is an important component to the contract.
11   disconnect at all. That's the circumstance you     11         Q. And what is your understanding of the
12   always have with buyers and sellers. It's the      12      issue on the "regulatory out" language?
13   seller who is making the decision as to which      13             MS. FLOM: Objection. The judge has
14   party to sell to. The fact that one buyer might    14         ruled on the extent that any negotiations
15   like a taxable transaction has nothing to do       15         with the bidders --
16   unless he can offer equivalent value.              16             MR. DEVORE: Fair enough. I withdraw
17      Q. And are you aware that creditors,            17         the question.
18   depending on where they sit, may prefer a          18             Can you just identify yourself for the
19   taxable versus a non-taxable transaction?          19         record?
20      A. I have yet to understand why that's          20             MS. FLOM: This is Beret Flom from
21   the case, but I am aware that some people are      21         Chadbourne.
22   asserting that.                                    22      BY MR. DEVORE:
23      Q. I'd like to go back to your earlier          23         Q. Mr. Hiltz, changing topics. The
24   testimony when you referred to difficulties in     24      bidding procedures contemplate Round 1 bids for
25   negotiating with NextEra which caused the          25      the stalking horse position to be submitted on


                                                                          27 (Pages 102 to 105)
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                                         Page 106                                                    Page 107
 1        CONFIDENTIAL - WILLIAM O. HILTZ                1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   October 23; is that right?                          2       Capstone and Ropes & Gray, regarding this
 3      A. Yes.                                          3       process?
 4      Q. And if an interested party does not           4          A. I had so many of those calls I don't
 5   submit its bid by October 23, that party is         5       specifically recall, but I may have been.
 6   precluded from participating in the stalking        6          Q. Do you recall being asked the number
 7   horse selection process?                            7       of bids that it would be cut down to?
 8      A. Correct.                                      8          A. Not specifically.
 9      Q. And around October 23, the Debtors are        9          Q. Do you recall indicating that the bids
10   going to cut down the bids submitted to a subset   10       would be cut down to two to four bids?
11   that will then proceed to Round 2; is that         11          A. I'm sure that I gave the same -- I
12   correct?                                           12       would be very surprised if I didn't say exactly
13      A. Correct.                                     13       the same thing I just said now, which it could
14      Q. How many bids do the Debtors                 14       be two to four. I said, optimally, three to
15   anticipate participating in Round 2?               15       four, but it would be more to the extent that
16      A. It really depends. One would like to         16       bids were tightly clustered.
17   have optimally at least three or four.             17          Q. Did anyone else ask about these
18   Obviously, I would not expect all bidders to       18       cut-downs?
19   proceed to Round 2, but the exact number will be   19          A. Oh, I'm sure someone else asked. We
20   largely a function of how closely clustered        20       had six or seven of those calls with varying
21   those bids are. To the extent they are closely     21       creditor constituencies. It's hard to remember
22   clustered, there would be a larger number of       22       the specifics of any given call.
23   people in Round 2.                                 23          Q. Sitting here you don't remember who
24      Q. Do you recall being on a call with the       24       may have asked?
25   EFIH first lien noteholders' advisors, including   25          A. No.

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 1        CONFIDENTIAL - WILLIAM O. HILTZ                1             CONFIDENTIAL - WILLIAM O. HILTZ
 2      Q. Now, the Debtors believe that                 2          Q. And what is the basis for that belief?
 3   submitting Round 1 bids by October 23 was           3          A. Looking at the bidding procedures
 4   reasonable based on the Debtors' extensive          4       motion.
 5   marketing process to this point, is that            5          Q. Could you point us to a provision?
 6   correct?                                            6          A. Is that Exhibit 1?
 7      A. Correct.                                      7          Q. Correct.
 8      Q. And just so I understand it, based on         8          A. Bottom of page 12, top of page 13.
 9   the dates of these NDAs, at least eight of the      9       "Importantly participation in the stalking horse
10   bidders currently involved in this process have    10       bidding process is not a prerequisite to
11   been involved since July or August, does that      11       participation in the open bidding process. In
12   sound right?                                       12       addition, bidders that participated in the
13      A. Yes.                                         13       stalking horse process but were not selected as
14      Q. And three more were provided access in       14       a stalking horse bid will also be permitted to
15   September, does that sound right?                  15       participate in the open bidding process and
16      A. Yes.                                         16       continue to have reasonable due diligence
17      Q. Will interested parties not moving on        17       access."
18   to Round 2 be able to conduct diligence during     18          Q. Okay. Thank you. Now, that's in the
19   Round 2?                                           19       motion?
20      A. I'm not sure. I don't recall.                20          A. Yes.
21      Q. Do you recall the --                         21          Q. I apologize, there was confusion. I
22      A. Actually, yes. I'm sorry. Yes, I             22       was thinking of the procedures.
23   believe they will. I believe any qualified         23              Do you know if that provision is in
24   bidder continues to have access to the due         24       the procedures?
25   diligence.                                         25          A. I don't recall.


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 1          CONFIDENTIAL - WILLIAM O. HILTZ              1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   horse process but would be interested in            2         Q. And you gave prospective bidders until
 3   participating in the open auction process?          3      October 23 to submit non-binding letters of
 4      A. In the earlier process, the shorter           4      intent with illustrative terms?
 5   process, I believe there was at least one bidder    5         A. Yes.
 6   who said he would wait for the open auction         6         Q. Now, selected Round 1 bidders must
 7   process.                                            7      submit initial marked versions of documentation
 8      Q. But now that it's been changed to an          8      by November 7?
 9   extended stalking horse process, there's been no    9         A. Correct.
10   such indication from a bidder?                     10         Q. And then there would be negotiations
11      A. I can't recall whether that party is         11      over the documentation until around November 21;
12   still in the process now or not.                   12      is that correct?
13      Q. But there's only one that may have           13         A. Correct.
14   said that?                                         14         Q. So, as of the completion of
15      A. That's all that I'm aware of.                15      documentation around November 21, the bidders
16      Q. Do you have any reason to believe that       16      that have entered into NDAs, the vast majority
17   prospective bidders will participate in the open   17      of them, will have been involved in this process
18   auction process if they didn't participate in      18      for two to three months; is that right?
19   the stalking horse process?                        19         A. Yes.
20      A. If they did not participate? It's            20         Q. Now, one of the rationales for having
21   conceivable. I would doubt it, but it's            21      only a 30-day open auction process is because of
22   conceivable.                                       22      the longer initial stalking horse process?
23      Q. Mr. Hiltz, the Debtors started               23         A. Correct.
24   marketing this asset in July, correct?             24         Q. Correct? Now, if the Debtors or
25      A. That's correct.                              25      Evercore had missed a prospective bidder, how

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 2   can 30 days be sufficient for submitting a bid      2      try to increase their bids?
 3   when other parties have been given access for       3         A. Of course.
 4   over two to three months?                           4         Q. And how do you envision that process
 5          MS. O'CONNOR: Object to form.                5      playing out, generally?
 6      A. Well, I don't think it's a question of        6         A. Well, it's the way it always plays
 7   missing the bid. It is no secret that this          7      out, which is you talk to them, you say, gee,
 8   asset is for sale. We have gotten                   8      you know, you just barely made it into Round 2,
 9   over-the-transom calls, as I mentioned earlier,     9      you're going to have to be a lot more
10   from -- we don't think it's a likely bidder, but   10      aggressive; if there are particular elements to
11   from a bidder.                                     11      their bid that we don't find attractive, we'll
12          He's holding up a sign for you.             12      talk to them about that, but it's the normal
13          We've gotten over-the-transom calls.        13      thing you do in negotiating in the context of an
14   Anyone who is a likely bidder is certainly aware   14      auction.
15   of this process, and we would have expected        15         Q. And were you aware that Mr. Ying
16   would have contacted us. So I don't think it's     16      informed Mr. Keglevic that one of the dynamics
17   a very likely case at all that someone wakes up    17      in the energy market is that if you select a
18   when we announce a stalking horse bid and says,    18      stalking horse, the other bidders won't show up
19   oh, my gosh, I wish I had been looking at this     19      for the auction?
20   and now I have only got 30 days. I just don't      20              MS. O'CONNOR: Object to form.
21   see that as being a realistic scenario.            21         A. I think that what he has said, and
22      Q. Now, are you planning to speak to            22      certainly what I would say is that, first of
23   bidders prior to Round 2 -- of the world that      23      all, it was Lazard that originally raised this
24   submits bids in Round 1, are you planning to       24      problem, and Lazard's contention -- and this was
25   talk to them before they -- before Round 2 to      25      in the context of them saying they would object


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 2   if we went ahead with NextEra -- their              2      A. Mine and David's.
 3   contention was that utilities are very              3      Q. And Mr. Ying has more experience in
 4   conservative, they won't jump another person's      4   this sector than you do?
 5   deal, so that it was Lazard's contention that       5          MS. O'CONNOR: Object to form.
 6   selection of a stalking horse in effect             6      A. Modestly more.
 7   represented the end of the auction.                 7          MR. DEVORE: This may be a good point
 8          And they based that judgment on the          8      to break with the tape.
 9   fact that there are relatively few -- not none,     9          MS. O'CONNOR: Okay.
10   but relatively few examples where utilities have   10          THE VIDEOGRAPHER: The time is 11:57
11   jumped a strategic deal by another party. That     11      a.m. We are coming off the record.
12   is fact. I think our view is that Lazard's         12          (Recess.)
13   concerns have some merit. We wouldn't say that     13          THE VIDEOGRAPHER: The time is 12:10
14   absolutely no utility will jump another deal,      14      p.m. We are going back on the record.
15   particularly in the context of an open             15   BY MR. DEVORE:
16   bankruptcy auction, which is a little different    16      Q. Mr. Hiltz, I would like to go back to
17   than outside of bankruptcy, but we do feel that    17   the bidding procedures that were attached to the
18   there is some concern that you would have --       18   bidding procedures motion, which is Exhibit 1.
19   that there will be some utilities who would not    19      A. Yes.
20   be prepared to jump another deal in an open        20      Q. Annex -- or Exhibit 1 to Exhibit A.
21   auction.                                           21          Now what was your role in developing
22      Q. I think you said that that -- our            22   those bidding procedures?
23   view?                                              23      A. Well, I mean, I was one of the key
24      A. Yes.                                         24   participants in the development of the bidding
25      Q. Whose view was that?                         25   procedures.

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 1         CONFIDENTIAL - WILLIAM O. HILTZ               1          CONFIDENTIAL - WILLIAM O. HILTZ
 2      Q. Was anyone more involved than you in          2   on from there. Do you see that?
 3   developing these procedures?                        3      A. Yeah. Yes, I do.
 4      A. I would say Kirkland & Ellis was              4      Q. Now, and this paragraph of the order
 5   certainly as involved as I was.                     5   provides that the Debtors are authorized to make
 6      Q. But from Evercore, you were the               6   changes to the process, that's a fair summary?
 7   primary person?                                     7      A. Yes.
 8      A. Yes.                                          8      Q. Now, if you turn to the list of
 9      Q. Now, you testified earlier that you do        9   examples towards the end of paragraph 7, after
10   not know who approved the filing of these          10   it says "including, without limitation," the
11   bidding procedures; is that correct?               11   first thing in that list is it says that the
12      A. Correct.                                     12   Debtors will be authorized to change the bid
13      Q. Now, I would like to turn to the             13   requirements. Do you see that?
14   proposed order approving the bidding procedures    14      A. Uh-huh.
15   that's Exhibit A to the motion.                    15      Q. So, if approved, would the Debtors be
16      A. Okay.                                        16   able to tighten or loosen the bid requirements
17      Q. Are you there?                               17   to get past the Phase 1 cut-down?
18      A. Yes, I think so.                             18      A. Yes, we could.
19      Q. If you turn to page 7 -- I'm sorry,          19      Q. And that would be in their sole
20   paragraph 7. The proposed order states, "The       20   discretion?
21   Debtors are authorized, following consultation     21      A. That's correct.
22   with their advisors, to modify the bidding         22      Q. The second item listed there is that
23   procedures in any manner they determine, in        23   the Debtors could change the open bid
24   their sole business judgment, will best promote    24   requirements, do you see that?
25   the goals of the bidding process," and it goes     25      A. Yes.


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 2      Q. So, if approved, the Debtors would be         2   no reason why we will change any part of the
 3   able to tighten or loosen the requirements for      3   process.
 4   participation in the 30-day open bidding            4      Q. Are you aware of whether this is
 5   process; is that correct?                           5   typical in bankruptcy auctions?
 6      A. That's correct.                               6      A. I'm not.
 7      Q. And the third item that's listed there        7      Q. The fourth item listed is rejecting
 8   is "adjourning the auction at the auction and/or    8   any or all qualified bids, correct?
 9   adjourning the auction approval hearing in open     9      A. Correct.
10   court without further notice canceling the         10      Q. If approved, does this mean that the
11   auction." Do you see that?                         11   Debtors could reject bids even if they are
12      A. Yes.                                         12   otherwise qualified?
13      Q. Does this mean that we could go              13      A. Well, a qualified bid has nothing to
14   through this entire process and there would be     14   do with whether it's the best bid. So, I mean,
15   no auction?                                        15   we would -- of course, they're going to be
16      A. That's theoretically possible, but as        16   qualified bids that we are going to reject, by
17   I sit here today, I would not anticipate any       17   definition.
18   change to the bidding procedures. This is          18      Q. But this states that you could reject
19   typical language that we put in every document     19   any qualified bids before considering them in
20   that we create like this in the context of an      20   the final selection process, correct?
21   out-of-bankruptcy auction, just giving us the      21      A. I don't think it says anything about
22   flexibility to deal with unanticipated changes     22   whether or not we have considered them. I mean,
23   in circumstances or events.                        23   I will give you an example, okay? Suppose we
24      Q. Are you aware --                             24   had a bid that was otherwise attractive but
25      A. But again, as I sit here today, I see        25   imposed a 45-day drop-dead date to the contract.

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 1          CONFIDENTIAL - WILLIAM O. HILTZ              1         CONFIDENTIAL - WILLIAM O. HILTZ
 2   We would reject that bid because that bid           2   procedures are approved to challenge any
 3   realistically would have no chance of closing.      3   decision the Debtors make with respect to this
 4       Q. Mr. Hiltz, could you identify anything       4   process?
 5   in the bidding procedures that are attached to      5          MS. O'CONNOR: Object to form.
 6   the order that the Debtors would be unable to       6      A. They will have an opportunity to do
 7   change after this order is entered?                 7   that after we have signed a stalking horse bid
 8           Because the language says "the Debtors      8   and before such bid is approved by the court.
 9   are authorized to modify the bidding procedures     9      Q. That's only after the stalking horse
10   in any manner."                                    10   is selected?
11       A. Yes.                                        11      A. Correct.
12       Q. And it goes on "including, without          12      Q. Now, paragraph 7 that we have been
13   limitation"?                                       13   talking about states that the "Debtors are
14       A. Yes.                                        14   authorized," and it goes on from there?
15       Q. What I want to know, is there anything      15      A. Right.
16   in those bidding procedures the Debtors couldn't   16      Q. Which Debtors does this refer to as
17   change in their sole discretion?                   17   authorized to modify the bidding procedures,
18       A. I think the language would give us the      18   EFH, EFIH, TCEH, none of the above?
19   ability to change whatever we wished, but again,   19      A. I'm not clear whether a change in
20   I'll repeat that as we sit here today, I don't     20   bidding procedures would require the approval of
21   anticipate us changing any material aspect of      21   the EFH board along with the independent
22   the bidding procedures unless there's some         22   directors representing the T side and EFIH.
23   unforeseen event or circumstance.                  23      Q. Do you --
24       Q. In your view, will creditors be able        24      A. I would expect, as a matter of course,
25   to come back to the Bankruptcy Court after these   25   that were we to make a material change in these


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 2   procedures, that we would discuss that with the     2      A. Discussions? Well, again, as I think
 3   board.                                              3   you know, we are limiting discussions between
 4      Q. And have you considered how any               4   bidders and creditors without our consent. We
 5   inter-estate conflicts would be revolved in         5   are also preventing any exclusive arrangements
 6   connection with any proposed changes to the         6   between bidders and creditors because we believe
 7   bidding procedures?                                 7   that that is not conducive to producing the best
 8      A. I'm sorry, any what conflicts?                8   possible value.
 9      Q. Have you considered how any                   9      Q. And this is the result of the NDAs; is
10   inter-estate conflicts would be resolved in        10   that right?
11   connection with any proposed changes to the        11      A. Correct.
12   bidding procedures?                                12      Q. Now, if the turn to the NDAs, which
13          MS. O'CONNOR: Object to form.               13   are Exhibit 6 --
14      A. Again, I'm not sure I see any                14      A. Yes.
15   conflicts with respect to the bidding              15      Q. -- if we go to what is marked as
16   procedures.                                        16   Exhibit 6B, which is a confidentiality agreement
17      Q. Now, if you could turn to paragraph 8        17   dated August 8; are you on the same one?
18   of the order, this states that, "Each bidder       18      A. Yes.
19   must acknowledge in writing that it has not        19      Q. If you turn to the second page in the
20   engaged in any collusion with respect to any       20   middle of the paragraph, there's language that
21   bids," do you see that?                            21   states, "Notwithstanding anything to the
22      A. Yes.                                         22   contrary herein, (i) neither you nor your
23      Q. In your view, does this provision            23   Representatives shall contact any debt financing
24   preclude discussions by a bidder with creditors    24   source or any creditor of one or more of the
25   concerning a potential transaction?                25   Company Parties without the prior written

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 2   consent of the Company Parties (such consent not    2       Q. Did any bidder request that they be
 3   to be unreasonably withheld)"?                      3   precluded from contacting creditors?
 4      A. Yes.                                          4       A. Not to my knowledge.
 5      Q. Is that the provision that you are            5       Q. Now, this provision requires the
 6   referring to?                                       6   consent of the company parties; is that correct?
 7      A. Yes.                                          7       A. Yes.
 8      Q. Now, you mentioned earlier that some          8       Q. And company parties are defined to be
 9   of -- one or more prospective purchasers had        9   both EFH and EFIH, correct?
10   required creditor confidentiality restrictions;    10       A. I'm not sure.
11   is that correct?                                   11       Q. If you go to the first page?
12      A. I'm sorry, say that again.                   12       A. Yes.
13      Q. You mentioned earlier that this              13       Q. First paragraph, where its starts
14   language was added at the request of prospective   14   little (i)?
15   bidders; is that right?                            15       A. I see it.
16          MS. O'CONNOR: Objection. Objection          16       Q. And that indicates both EFH and EFIH?
17      to form.                                        17       A. Yes.
18      A. No, I didn't say that.                       18       Q. Why do both EFH and EFIH have to
19      Q. Who inserted this language into the          19   consent to creditor communications?
20   form NDA?                                          20       A. Well, I don't know why those specific
21      A. The language you just referred to            21   entities both are included there. Again, this
22   regarding contact with creditors and exclusive     22   was drafted -- this was not drafted by me, but
23   arrangements with creditors?                       23   again, the concept here is that we want to
24      Q. Yes.                                         24   control the process. We want to know who's
25      A. Evercore and Kirkland & Ellis.               25   talking with who, and it's a very slippery slope


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 2   from talking with creditors to making an           2   creditor without the prior written consent of
 3   exclusive arrangement with creditors, and there    3   the company parties"?
 4   is a bit of a gray area there that again we        4      A. Correct.
 5   believe isn't necessarily helpful in terms of      5      Q. So I want to know if I'm a creditor
 6   producing maximum value. So that's the reason      6   and I want to engage in a joint bid with a
 7   why we want to control the contact between         7   strategic investor, how do I do that?
 8   bidders and creditors.                             8      A. You come to us and ask for permission
 9      Q. Now, are you aware that, in connection       9   to have a discussion, and in fact, my
10   with the second lien DIP financing transaction    10   recollection is that there have been parties who
11   that was proposed prior to your involvement,      11   have asked to talk with creditors, and we have
12   that a bidding war broke out between -- among     12   not prevented any of those discussions from
13   creditor constituencies teamed up with some       13   taking place.
14   strategics?                                       14      Q. You have permitted those discussions?
15      A. Yes.                                        15      A. Yes.
16      Q. Does that preclude that type of a           16      Q. Now, I would like you to go back just
17   transaction?                                      17   a moment for the requested approval of the
18      A. It -- it puts us in a position they         18   procedures on October 17 and then the submission
19   can't have an exclusive arrangement with any      19   of round -- Round 1 bids by October 23, six days
20   creditor group. It doesn't prevent them from      20   later?
21   talking and submitting a bid, but it does         21      A. Yes.
22   prevent them from having any kind of exclusive    22      Q. Assuming the proposed procedures are
23   arrangement.                                      23   approved, are the Debtors going to be sending
24      Q. Well, I'm confused because the              24   any additional marketing materials out to
25   language says, "You shall not contact any         25   prospective bidders?

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 2      A. No.                                          2      Q. Did you inform your employees at
 3      Q. Do you anticipate reaching out to any        3   Evercore of the need to maintain the
 4   prospective bidders that have not already been     4   confidentiality of the prospective bidders'
 5   identified?                                        5   identities?
 6      A. No. Unless someone comes in over the         6      A. Yes.
 7   transom, as happened last week.                    7      Q. Are you aware of whether that same
 8      Q. The bidding procedures preclude              8   caution was given to employees at the Debtors?
 9   creditor involvement in consultation -- in         9      A. I'm not aware, but I assume it has.
10   connection with the stalking horse approval       10      Q. Do you believe that these NDAs that
11   process; is that right?                           11   were signed up adequately protect against the
12      A. Yes.                                        12   risk of public disclosure?
13      Q. And you testified earlier that this         13      A. They never adequately protect against
14   was the result of concerns about                  14   the risk of public disclosure. You know, leaks
15   confidentiality; is that correct?                 15   in merger and acquisition transactions are
16      A. Correct.                                    16   common despite the fact that, you know, in
17      Q. And these were largely concerns of the      17   almost every circumstance, there's a similar
18   company as well as the bidders?                   18   document to this that's signed.
19      A. Yes.                                        19      Q. And is it safe to assume that your
20      Q. Was one side more concerned than the        20   view is that giving creditors access to this
21   other regarding confidentiality concerns?         21   information under an NDA provides an increase in
22      A. I think each side is concerned.             22   the incremental risk?
23   Certainly the company has significant concerns    23      A. Provides an enormous incremental risk.
24   about that, and I, as the advisor to the          24      Q. Are you aware that there's a
25   company, have significant concerns about that.    25   protective order entered in these cases


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 2   take stock in a reorganized company that does       2   and the T side.
 3   not publicly trade, under that set of               3      Q. What I want to know is a conflict
 4   circumstances, because there's no objective         4   arises --
 5   measure of a value as there is with a public        5      A. What conflict?
 6   company's securities that are trading, under        6      Q. Inter-estate conflicts.
 7   that set of circumstances, it's conceivable that    7      A. I don't understand. When you say an
 8   we would have a consultation with creditors.        8   inter-estate conflict in the context of these
 9      Q. And by creditors, you mean a small            9   bidding procedure motions, I'm not sure what you
10   subset of those creditors?                         10   are referring to. Could you be more specific?
11      A. Yes, correct.                                11      Q. Have you considered at all how these
12      Q. Now, going back to the bid criteria,         12   procedures will be changed if conflicts arise?
13   number 9 is Other Factors, any other factors       13      A. I don't -- without understanding what
14   that the Debtors, in their sole discretion,        14   conflicts you're referring to, I can't answer
15   determine are relevant; do you see that?           15   your question. Be specific about a conflict.
16      A. Uh-huh.                                      16      Q. You're the chairman of Evercore's
17      Q. If approved, these procedures mean           17   Special Committee practice, correct?
18   that the Debtors could tighten or loosen the bid   18      A. Correct.
19   criteria in their sole direction, correct?         19      Q. Conflicts arise in various ways,
20      A. Correct.                                     20   correct?
21      Q. Same question as before, what Debtors        21      A. Well, again, I don't see a conflict
22   could do that?                                     22   here. What we're doing in this process is to
23      A. Again, I would assume we would only do       23   maximize the economic value of the 80 percent
24   that after having discussed it with the board of   24   ownership in Oncor, taking into account any tax
25   EFH, including the independent directors of EFIH   25   liability that results.

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 1         CONFIDENTIAL - WILLIAM O. HILTZ               1         CONFIDENTIAL - WILLIAM O. HILTZ
 2          The E stack of the creditors, again,         2   conflict of interest.
 3   you know, benefit very directly by the              3      Q. And do you understand that the
 4   maximization of value. The T side creditors, at     4   differing views of different creditor
 5   least as we sit here today, have no established     5   constituencies may reflect the different views
 6   claims against the E side. To the extent that       6   of those estates?
 7   they do have claims, they as well benefit by        7      A. Well, again, I understand that they
 8   maximizing the after-tax value.                     8   are making objections to, for example, favoring
 9          So I'm just not sure that I understand       9   a taxable transaction. I don't see how that is
10   what kinds of conflicts you're referring to.       10   in their benefit, but that's just me.
11      Q. So, sitting here today, you do not           11      Q. I would like to go back to, actually,
12   think that there will be any conflicts in          12   the very beginning of our deposition.
13   connection with bidding procedures going           13      A. Yeah.
14   forward?                                           14      Q. And you mentioned that you reviewed
15          MS. O'CONNOR: Object to form.               15   various documents in preparing for today's
16      A. Well, I understand the objections that       16   deposition, correct?
17   have been raised by -- primarily, by the           17      A. Correct.
18   out-of-the-money T side creditors with respect     18      Q. You said you reviewed the levels of
19   to this process.                                   19   M&A activity?
20      Q. So conflicts issues have been raised?        20      A. Yes.
21      A. Well, I'm not sure they're conflicts.        21      Q. What form of this -- did you review
22   They're different points of view as to what the    22   this information in?
23   right way forward is.                              23      A. What do you mean, what form?
24      Q. And do you --                                24      Q. Was it Evercore e-mails? Press
25      A. But I'm not sure that there is a             25   reports?


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 2      Q. Correct?                                      2      A. I don't see that that is particularly
 3      A. Uh-huh.                                       3   relevant unless it impacts the timing of the
 4      Q. Have you seen any term sheets that            4   plan of reorganization.
 5   describe the T side plan or any of its elements?    5      Q. Do you believe that it impacts the
 6      A. Not over and above what I just                6   timing of the plan of reorganization?
 7   articulated.                                        7      A. I don't know the answer to that.
 8      Q. What do you know about the litigation         8      Q. You're aware that there is opposition
 9   between Avenue and a bunch of other bondholders     9   to the bidding procedures motion from various
10   and Fidelity?                                      10   creditors on the E side of the equation?
11      A. I'm notionally familiar with it.             11      A. Yes.
12      Q. Tell us what you know about it.              12      Q. Which creditors on the E side of the
13      A. That there is litigation over a call         13   equation have threatened to object to the
14   option that would entitle them to buy a piece of   14   bidding procedure?
15   Fidelity's paper at a discounted price.            15      A. The varying committees for the
16      Q. Have any of the prospective bidders          16   unsecured creditors, and I can't recall whether
17   talked to you about that litigation?               17   the second liens. Probably the second liens as
18      A. Not to me, no.                               18   well, but I'm not sure.
19      Q. To your knowledge, have any of the           19      Q. Can you think of any constituency on
20   prospective bidders talked to anybody on the       20   the E side of the equation that supports the
21   Debtors side about that litigation?                21   Debtors' bidding procedures.
22      A. I don't know the answer.                     22      A. I believe the first lien, first lien
23      Q. Do you believe that that litigation          23   holders on the E side do.
24   presents any execution risk for a potential        24      Q. On the E side do?
25   bidder?                                            25      A. Yeah, but again, that's just

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 2   anecdotal. I haven't spoken with them myself.       2      A. Oh, you said the E side?
 3      Q. Which creditors on the T side of the          3      Q. So now let's start all over again
 4   equation, if you know, support the Debtors'         4   since you have succeeded in making the record a
 5   motion?                                             5   mess, or we both have.
 6      A. As far as I know, all the creditors on        6          To your knowledge, which, if any,
 7   the E side support it.                              7   creditors on the E side of the business supports
 8      Q. Let me break it down for you again?           8   the Debtors' pending motion?
 9      A. Okay.                                         9      A. As far as I know, they all do.
10      Q. Because I think one of us is confused.       10      Q. So you believe that the EFIH first
11          MS. O'CONNOR: I think you just may          11   liens support this motion?
12      need to repeat the question?                    12      A. I believe so.
13      Q. I need to start again. To your               13      Q. What's the basis of that belief?
14   knowledge, which, if any, creditors on the E       14      A. That's what I've been told.
15   side --                                            15      Q. Who told you that?
16      A. Uh-huh.                                      16      A. I think David Ying told me that.
17      Q. -- support the Debtors' bidding              17      Q. And what about the EFIH second lien?
18   procedures motion?                                 18      A. Again, to my knowledge, there's no
19      A. I believe the first lien TCEH                19   significant opposition to the bidding procedures
20   creditors.                                         20   from any of the creditors on the E side, to the
21      Q. Okay.                                        21   best of my knowledge.
22      A. Again, I've just been told that              22      Q. What, if any, reaction would you have
23   anecdotally. I haven't been told that myself.      23   as the guy who's running the auction and has to
24      Q. Either you're not listening or I'm not       24   deal with prospective bidders' execution risk
25   making myself clear.                               25   were you to find out that, as we sit here today,


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 2   or Sesh regarding this topic?                       2   the filing of the motion, i.e., the number of
 3          MS. O'CONNOR: Object to form.                3   parties that had been contacted, the number of
 4      A. That's correct.                               4   NDAs that had been signed, and where that stood
 5      Q. If we turn to page 7, which has               5   as of this morning.
 6   category 8 on it?                                   6      Q. Now, to save time, I'm going to ask
 7      A. Uh-huh.                                       7   you a series of questions, and for each one if
 8      Q. This is, again, this is an EFIH               8   you could tell me if you specifically know the
 9   Unsecured Topic 1, which is actually EFIH first     9   answer to that; and, if not, who you would need
10   lien trustee. You stated that you reviewed a       10   to talk to to get an understanding in order to
11   summary of the marketing process; is that          11   provide an answer to that question.
12   correct?                                           12           Do you understand what I'm getting at?
13      A. Correct.                                     13      A. Yes.
14      Q. Did you have any communications with         14      Q. During what period between July 1 and
15   Mr. Ying or Sesh regarding this topic?             15   today were teasers that provided only for a
16      A. Yes.                                         16   non-taxable transaction sent to prospective
17      Q. And when were those communications?          17   bidders?
18      A. As recently as this morning.                 18      A. I believe I know the answer to that.
19      Q. And what was said in those                   19      Q. And what is that period?
20   discussions?                                       20      A. It was the 16th of July, when I
21      A. It was basically just going over a           21   believe the initial teaser was dated, and I
22   schedule that was prepared that showed, again,     22   don't think any additional teasers that were
23   the number of parties contacted initially, the     23   changed were sent out until the filing of the
24   number of NDAs that were signed, the identity of   24   motion.
25   the parties, then where that process stood as of   25      Q. On September 19?

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 2   A. Correct.                                         2          MR. DEVORE: I have five questions on
 3       MS. O'CONNOR: Okay. I'm just going              3      this. They're very short and to the point,
 4   to -- I don't know how many of these you're         4      and I think it'll be very efficient to
 5   going to do, but if you're asking --                5      create a record as to whether this witness
 6   re-asking substantive questions that's about        6      adequately testified with respect to the
 7   what he did to prepare, I think we've -- you        7      topics I'm concerned about.
 8   had several hours this morning.                     8   BY MR. DEVORE:
 9       If it's other than what he did to               9      Q. When was the first teaser that
10   prepare, if it's re-asking substantive             10   provided for -- strike that. You answered that.
11   questions, I don't think 6:45 tonight is the       11   I can skip that.
12   time to restart your examination.                  12          On what date did the Debtors determine
13       MR. DEVORE: Well, actually, the                13   to accept bids in any form?
14   answers have changed a bit from I don't know       14      A. I don't know that there is a precise
15   to now I know, and based on his                    15   date.
16   representation that he communicated with           16      Q. And in order to figure that out, who
17   people, I'm trying to find out if he knows         17   would you need to talk to?
18   the answers to my questions or not and who         18      A. I'm not sure who I would talk to to
19   he needs to talk to to get the answers.            19   figure that out.
20       MS. O'CONNOR: We're not going to redo          20      Q. Would you talk with company
21   your exam from this morning.                       21   management?
22       MR. DEVORE: Are you going to instruct          22      A. Well, again, I mean, this was a topic
23   the witness not to answer?                         23   that was discussed and discussed over a number
24       MS. O'CONNOR: No, but we're going to           24   of days. I can't recall the precise date that
25   cut the deposition off at a reasonable time.       25   we decided to do that.


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